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                               UNITED STATES DISTRICT COURT
                                      NORTHERN DISTRICT OF OKLAHOMA


Rowan Fowler et al.
                                            Plaintiff(s)

vs.                                                                        Case Number: 22-CV-00115-GKF-SH

 Kevin Stitt et al.
                                        Defendant(s)


                                                           Appearance


To the Clerk of this court and all parties of record:

I am admitted or otherwise authorized to practice in this court, and I appear in this case for:
   Plaintiffs Rowan Fowler; Allister Hall; and C.R.




March 17, 2022                                                 /s/ Nicholas Guillory
Date                                                           Signature

Type of Appointment:       Retained            CJA             Nicholas Guillory
                                                               Print Name

              FPD       ✔ Pro Bono             Pro Se          Lambda Legal Defense and Education Fund, Inc.
                                                               Firm Name

                                                               3500 Oak Lawn Ave., Ste. 500
                                                               Mailing Address

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 Appearance                                                    1                                             AO-458-Modified (10/09)
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                                  CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on March 17, 2022, I electronically transmitted the foregoing

  document to the Clerk of the Court using the CM/ECF system. The following parties or counsel

  were served by electronic means, as reflected in the Notice of Electronic Filing:

         Not Applicable (no defendant has yet appeared)

         I FURTHER CERTIFY that on such date I served the foregoing on the following

  non-CM/ECF Registered Participants via U.S. first class mail, postage prepaid addressed as

  follows:

         Kevin Stitt
         Office of Governor J. Kevin Stitt
         2300 N. Lincoln Blvd., Suite 212
         Oklahoma City, OK 73105

         Keith Reed
         Interim Commissioner of Health
         Oklahoma State Department of Health
         123 Robert S. Kerr Ave., Suite 1702
         Oklahoma City, OK 73102-6406

         Kelly Baker
         State Registrar
         Oklahoma State Department of Health
         123 Robert S. Kerr Ave., Suite 1702
         Oklahoma City, OK 73102-6406

         State of Oklahoma
         Oklahoma Attorney General’s Office
         Litigation Section
         313 N.E. 21st Street
         Oklahoma City, OK 73105-3498

                                                              /s/ Michele Clanton-Lockhart
                                                              Michele Clanton-Lockhart
                                                              Senior Paralegal/Lambda Legal
